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AO 442 @ev. ll/11) Arrest Warrant



                                         UNtrBo Srares DrsrRrcr Counr
                                                                          for the

                                                                District of Columbia

                      United States of America
                                                                             )        Case: 1 :21-mj'00665
                                                                             )        Assigned to: Judge Meriweather, Robin M.
                       Jared Samuel Kastner
                                                                             )        Assign Date: 12n/2021
                                                                             )        Description: COMPLAINT W ARREST WARRANT
                                                                             )
                                                                             )
                             Defendant


                                                           ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU AR-E COMMANDED to arrest and bring before                          a   United States magistrate judge without unnecessary delay
(name ofperson to be    azesred)   lafed lsamuel Kastner
who is accused ofan offense or violation based on the following document filed with the court:

I lndictment           Superseding tndictment 0 Information O Superseding Information    [[                                                 Complaint
f Probation Violation Petition . Supewised Release Violation Petition J Violation Notice fl                                                 Order ofthe Court

This offense is briefly described as follows:

l8 U.S.C. $ 1752(axl) - Entering and Remainirg in  a R€stdcted Building or Grounds
iE U.S.C. $ 1752(aX2) - Disorderly and Disruptive Conduct ir aRestricted Building or Grounds
a0 U.S.C. $ 5loa(eX2XD) - Disorderly Conduct in a Capitol Building
40 U.S.C. $ 5104(eX2)(G) - Paradiag, DeEoDstratiq, or Picketirg i! a Capitol Buildiig




Date:            tZl_01/2021
                                                                                         S*-4-*''- ?3i!l'ill,,"
                                                                                                       Is suing olfr cer's s i gtr atur e


City and state:                     Washington, D.C.                                     Robin M. Meriweathq, U.S. Magiqtrate Judge
                                                                                                         Pinted nome and title


                                                                         Return

          This
at (city and state)
                            was teceived on         rc)   ELlaaL                     , and the person was arrested on       (da,e,          gl /eot,

Date        ukJroa,                                                                                          ting ofrcer's signature


                                                                                       /+      (,                                  F,,n OEo'
                                                                                                                                 title
